      ,           Case 4:08-cr-00018-SWW              Document 48              Filed 02/24/10      Page 1 of 4
PROB 12B
EDI AR (8/2002)
                                                                                                        FILED
                                                                                                     u.s. DISTRICT COURT
                                                                                                 EASTERN DISTRICT ARKANSAS


                                         United States District Court                                  FEB 242010
                                                           for the                          JAME
                                                                                            By:_~~~ ........"""",,,,-:!o::T""=,,=,=
                                            Eastern District of Arkansas                                                     L.ERK


                         Request for Modifying the Conditions or Term of Supervision
                                        with Consent of the Offender
                                        (Probation Form 49, Waiver ofHearing is Attached)




  Name of Offender: Kimberly Parchman                                        Case Number: 4:08CROOOI8-002 SWW
  Name of Sentencing Judicial Officer:           Honorable Susan Webber Wright
                                                 United States District Judge
  Offense:                      Aiding and abetting the distribution of cocaine base
  Date of Sentence:             December 12,2008
  Sentence:                     3 years probation, mandatory drug testing, substance abuse treatment,
                                employment, 8 months home detention with electronic monitoring, DNA, and
                                $100 special penalty assessment
  Type of Supervision:          Probation                     Date Supervision Commenced: December 12,2008
                                                              Expiration Date: December 11,2011
  Asst. U.S. Attorney: Patricia Harris                        Defense Attorney: To be obtained
  U.S. Probation Officer: Jay Baker Hudson
  Phone No.: 870-972-6176


                                            PETITIONING THE COURT

To modifY the conditions of supervision as follows:

              The defendant shall complete forty hours of community service work within 90 days of the
              signing of this order.

                                                           CAUSE

              Ms. Parchman has failed to submit monthly supervision reports for the months of January,
              February, May, and August 2009. She also failed to report for substance abuse counseling on
              February 4 and July 31,2009. Additionally, she failed to report for drug testing on January 14,
              21, August 26, September 9, 15, and December 9 and 14,2009. Ms. Parchman's time sheets
              were reviewed for the dates she missed testing in August and September to verifY her hours. On
              August 26,2009, Ms. Parchman clocked out at 1:30 p.m., leaving her over two hours to report
              for testing. On September 9,2009, Ms. Parchman did not clock in until 9:23 a.m. which left her
              over an hour to submit a urine sample before she reported to work. In regard to the missed tests
              in December, she forgot to call or waited too long to report. Finally, she has not paid her $100
              special penalty assessment as instructed by the Court on December 12,2008.
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Prob 12B                                           -2-                          Request for Modifying the
                                                                       Conditions or Terms of Supervision
                                                                             with Consent of the Offender

Name of Offender: Kimberly Parchman                              Case Number: 4:08CR00018-002 SWW

Assistant U.S. Attorney Patricia Harris and Federal Public Defender Jerome Kearney have both agreed to
the requested modification. Ms. Parchman signed the attached Prob 49 waiving her right to a hearing
and agreeing to the proposed modification. The modification addresses her multiple violations without
affecting her current employment or ability to continue caring for her children.




                                                                Patricia Harris
                                                                Assistant U.S. Attorney

 Date: February 16,2010                                         Date:   021~Y/I C>

This form is to be filed with Criminal Docketing as a motion.




THE COURT ORDERS:
[] No Action
[] The Extension of Supervision as Noted Above
[~ The Modification of Conditions as Noted Above
[] Other
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                                                                      __ ~ L ~---
                                                                Signature of Judicial Officer

                                                                  J--l4-IO
                                                                Date

This form is to be filed with Criminal Docketing as an order and/or petition.

Approved:




JBH/khm
           Case 4:08-cr-00018-SWW         Document 48       Filed 02/24/10 Page 3 of 4
Prob 12B                                      -3-                          Request for Modifying the
                                                                  Conditions or Terms of Supervision
                                                                        with Consent of the Offender

Name of Offender: Kimberly Parchman                         Case Number: 4:08CROOOI8-002 SWW

c: Assistant Federal Public Defender, Jerome Kearney, 1401 West Capitol Avenue, Suite 490, Little
   Rock, AR 72201
   Assistant U.S. Attorney, Patricia Harris, P.O. Box 1229, Little Rock, AR 72203
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PROB 49
                                 Waiver of Hearing to ModifY Conditions
                      of Probation/Supervised Release or Extend Term of Supervision

                        UNITED STATES DISTRICT COURT
                                    for the
                        EASTERN DISTRICT OF ARKANSAS

       I have been advised and understand that I am entitled by law to a hearing and assistance
of counsel before any unfavorable change may be made in my Conditions of Probation and
Supervised Release or my period of supervision being extended. By 'assistance of counsel', I
understand that I have the right to be represented at the hearing by counsel of my own choosing if
I am able to retain counsel. I also understand that I have the right to request the Court to appoint
counsel to represent me at such a hearing at no cost to myself if I am not able to retain counsel of
my own choosing.

        I hereby voluntarily waive my statutory right to a hearing and to assistance of counsel. I
also agree to the following modification of my Conditions of Probation and Supervised Release
or to the proposed extension of my term of supervision:

The defendant shall complete forty hours of community service work within 90 days of the
signing of this order.




 Witness: _~~~~~~~=::::....-                   _

                                          ~-IO-lO
                                                   DATE
